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                     EXHIBIT B
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                                                June 20, 2013



           By Email

           Robert A. Sacks
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           1888 Century Park East, Suite 2100
           Los Angeles, California 90067

             Sharp Electronics Corporation, et al. v. Hitachi, et al., No. 13-cv-1173 (MDL Docket
                                        No. 07-cv-5944) (N.D. Cal.)

           Dear Robert:

                         I have not heard back from you in response to the letter I sent to you on
           Monday. I am attaching it again for your reference. Our question is a simple one and we
           would be grateful for a prompt response.

                                                     Very truly yours,

                                                     /s/

                                                     Craig A. Benson


           Attachment
